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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                            LOUISVILLE DIVISION
                    CRIMINAL ACTION NO. 3:16-CR-00113-TBR

   UNITED STATES OF AMERICA,                                                       Plaintiff,

   v.

   JAMAULE HOLLIS, et al.,                                                     Defendants.

                      MEMORANDUM OPINION AND ORDER
          John G. Tomes, Jr., a defendant in the above-captioned action, has filed three

   discovery-related motions. The Court will address the merits of each in turn. For the

   reasons discussed more fully below, John G. Tomes, Jr.’s Motion for Discovery, [R. 28],

   and Motion for Production, [R. 29], are DENIED AS MOOT. John G. Tomes, Jr.’s

   Motion for Notice, [R. 30], is DENIED.

          To start, Tomes moves the Court to require the Government to comply with its

   discovery obligations under Federal Rule of Criminal Procedure 16. [See R. 28 at 1–2

   (Motion for Discovery).] However, the Government has been ordered to do just that, [R.

   38 at 1, ¶ 2 (Scheduling Order)], and the Court has no reason to suspect noncompliance.

   Consequently, Tomes’ motion is moot. See United States v. Jackson, No. 5:14-CR-

   00012-TBR, 2015 WL 3970701, at *2 (W.D. Ky. June 30, 2015).

          Next, Tomes asks the Court to direct the Government to disclose any

   “exculpatory materials pursuant to the mandate of Brady,” and identifies various

   categories of information he alleges to be discoverable. [R. 29 at 1–2, ¶¶ 1–5 (Motion for

   Production.]   The Government acknowledges its obligation to provide Tomes with

   exculpatory and impeaching evidence, as is required under Brady v. Maryland, 373 U.S.

   83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and United States v. Presser,

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   844 F.2d 1275 (6th Cir. 1988), in a timely fashion to allow for its effective use at trial.

   [R. 34 at 1 (Response to Motion for Production).] The Court entered an order to the same

   effect on November 29, 2016. [R. 38 at 1, ¶ 4.] Therefore, Tomes’ request is moot. See

   Jackson, 2015 WL 3970701, at *2.

          Last but not least, Tomes also seeks an order compelling the Government to give

   notice, pursuant to Federal Rule of Evidence 404(b), of its intention to use evidence of

   his other crimes, wrongs, or bad acts at least thirty days prior to trial. [R. 30 at 1–2

   (Motion for Notice).] Specifically, Tomes asks the Government to identify (1) the “dates,

   times, places, and persons involved in said other crimes, wrongs or acts”; (2) the

   “statements of each participant,” if any; (3) the “documents which contain or evidence”

   those other “crimes, wrongs, or acts,” including information related to the preparation of

   such documents; and (4) the issue on which the Government “believes such other crimes,

   wrongs or acts evidence is relevant.” [Id.] The Government does not contest its general

   obligation to provide appropriate notice, but it does take issue with the timing of

   disclosure, as well as the specificity Tomes requests. [R. 33 at 1 (Response to Motion for

   Notice).]

          Rule 404(b) requires that, upon the defendant’s request, the prosecution “provide

   reasonable notice of the general nature” of evidence of crimes, wrongs, or other acts it

   “intends to offer at trial.” Fed. R. Evid. 404(b)(2)(A); see also United States v. Gonzalez,

   501 F.3d 630, 637 (6th Cir. 2007); United States v. Barnes, 49 F.3d 1144, 1147–49 (6th

   Cir. 1995). The notice requirement “is intended to reduce surprise and promote early

   resolution on the issue of admissibility” of Rule 404(b) evidence. Fed. R. Evid. 404

   advisory committee’s note to 1991 amendment.           “[N]o specific form of notice is



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   required,” only generalized notice designed to “apprise the defense of the general nature

   of the extrinsic acts.”     Id.; see also Gonzalez, 501 F.3d at 637 (discussing that

   government must merely provide “such notice in a reasonable form and manner”).

           Twenty-one days will afford Tomes adequate opportunity either to challenge the

   admissibility of such evidence before trial or to prepare for its eventual use at trial. [See

   R. 38 at 1, ¶ 7.] The specificity of the notice that Tomes requests, however, is too broad.

   For example, the notice mandate is not meant to “require the prosecution to disclose

   directly or indirectly the names and addresses of its witnesses.” Fed. R. Evid. 404

   advisory committee’s note to 1991 amendment; cf. United States v. Perkins, 994 F.2d

   1184, 1190 (6th Cir. 1993) (“Ordinarily, a defendant is not entitled to a list of the names

   and addresses of the government’s witnesses.” (citing Fed. R. Crim. P. 16)). Therefore,

   the Government need not provide the detailed notice Tomes asks for, only “reasonable

   notice of the general nature” Rule 404(b) requires, Fed. R. Evid. 404(b)(2)(A), no later

   than twenty-one days prior to trial. Accordingly, Tomes’ motion is denied.

           IT IS HEREBY ORDERED that Defendant John G. Tomes, Jr.’s Motion for

   Discovery, [R. 28], is DENIED AS MOOT.

           IT IS FURTHER ORDERED that Defendant John G. Tomes, Jr.’s Motion for

   Production, [R. 29], is DENIED AS MOOT.

           IT IS FURTHER ORDERED that Defendant John G. Tomes, Jr.’s Motion for

   Notice, [R. 30], is DENIED.

           IT IS SO ORDERED.

   Date:   January 19, 2017

   cc:     Counsel of Record




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